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 11    Attorneys for Plaintiff
       SYMBOLOGY INNOVATIONS, LLC
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 13
                      IN THE UNITED STATES DISTRICT COURT
 14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15    SYMBOLOGY INNOVATIONS, LLC,
 16                                                 Civil Action No.: 8:20-cv-01256
                   Plaintiff,
 17
 18          v.                                     TRIAL BY JURY DEMANDED
 19    UNIVERSAL ELECTRONICS, INC.,
 20
                   Defendant.
 21
 22                             JOINT MOTION TO DISMISS
 23          Now come Plaintiff, Symbology Innovations, LLC and Defendant, Universal
 24
       Electronics, Inc., by and through their undersigned counsel, pursuant to Fed. R. Civ.
 25
 26    P. 41, and hereby move this Court to dismiss all claims against Defendant Universal
 27    Electronics, Inc. WITH PREJUDICE and all counterclaims against Plaintiff
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                                                1
                                      JOINT MOTION TO DISMISS
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   1
       Symbology Innovations, LLC WITHOUT PREJUDICE, with each party to bear its

   2   own attorneys’ fees and costs.
   3
       Dated: September 23, 2020                       Respectfully submitted,
   4
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                                        JOINT MOTION TO DISMISS
